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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
RAYMOND ROSAS,                                                       Case No.: 12 CV 6557-VB-HBP

                                 Plaintiff,

                -against-

BALTER SALES CO. INC., ARNOLD BALTER,
individually, MARK BALTER, individually, and BARRY
ROSENBERG, individually,

                                   Defendants.

-----------------------------------------------------------------X




               PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
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                                        INTRODUCTION

        The facts at issue here are simple; determining who to believe is not. In sum, Plaintiff,

Raymond Rosas (“Plaintiff”) contends that during the course of his employment with Defendant

Balter Sales Co. Inc. (“Balter Sales”), he was racially discriminated against and sexually

harassed. Defendants were aware of the racially hostile work environment, as well as the sexual

harassment, and failed to investigate or remedy Plaintiff’s complaints. Defendants then

terminated Plaintiff because of his race, because he complained about the discrimination, and

further retaliated against Plaintiff when Plaintiff filed this action in Court, by filing a cross-claim

that Plaintiff stole merchandise, which Plaintiff adamantly denies, which is unsubstantiated by

any real evidence, and which Defendants’ own employees contradict. Defendants also claim that

the discrimination and harassment never happened. There are so many triable issues of fact that

summary judgment is simply not appropriate. Moreover, Defendants’ entire motion is predicated

on facts that are, at best, in dispute, as well as false assumptions that are not supported by the

evidence. For the reasons discussed below, Defendants’ motion for summary judgment should be

denied in its entirety.

                                    STATEMENT OF FACTS

        In October 2010, Plaintiff began working for Defendant Balter Sales as a “Driver.” (Pl.

Aff. ¶2; Rosas Tr. 28:7-101). Plaintiff was hired for the position of “Driver” because he had a

Class A license and extensive training and experience handling and driving heavy equipment.

(Rosas Tr. 138:6-8). As a Driver for Defendant Balter Sales, Plaintiff successfully performed his

duties, making deliveries to approximately 28 different restaurants across Manhattan. During the

1
       All of the deposition transcripts referred to herein are cited as “[deponent name] Tr. at
[page number:line number]” and are being submitted to Your Honor on a CD in accordance with
Your Honor’s Individual Practice Rule 4.D.
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course of Plaintiff’s employment, he was supervised by Barry Rosenberg and Anthony

Castriello, as well as two of Defendant Balter Sales’ owners, Marc Balter and Lori Balter. (Pl.

Aff. ¶3; Rosas Tr. 29:3-30:2; 31:19-32:7; Balter Tr. 8:5-6).

       Plaintiff is a Hispanic male. (Pl. Aff. ¶1; Rosas Tr. 37:25-38:2). Shortly after Defendants

hired Plaintiff, Plaintiff’s supervisor (Defendant Marc Balter (“Balter”)), began discriminating

against Plaintiff on the basis of Plaintiff’s race. (Pl. Aff. ¶5; Rosas Tr. 121:14-122:9; 129-134).

Defendant Balter also has a history of violent behavior in the workplace. (Pardo Tr. 19:23-20:18;

Mungo Tr. 13:17-14:3; Rivera Tr. 25:22-26:9; 71:23-72:3; 72:16-22; 73:20-24; 76:2-77:19). In

fact, one of Defendant Balter’s employees likened him to the Marvel comic book character “The

Hulk.” (Pardo Tr. 19:23-20:6). Defendant Balter also had a history of using racially charged

language in the workplace, including the use of the term “nigger,” when addressing his

employees. (Mungo Tr. 23:4-11; Rivera Tr. 72:16-18).

       Defendant Balter would, on a regular basis, make fun of Plaintiff, as well as Defendant

Balter Sales’ other Hispanic employees, by mocking their accents and speaking to them with a

fake Spanish accent or fake broken English. (Pl. Aff. ¶5; Rosas Tr. 131:20; 132:7-133-3; Rivera

Tr. 75:18-76:7). Plaintiff interacted with Defendant Rosas approximately three times per week,

and on nearly every occasion, over the course of Plaintiff’s employment, Defendant Balter spoke

with a Spanish accent. (Pl. Aff ¶6; Rosas Tr. 132:7-9; Rivera Tr. 75:9-11; 75:18-76:7).

       Plaintiff complained to Defendant Balter on more than one occasion, including in August

of 2011, as well as on December 11 and December 27, 2011, about the racial harassment. (Pl.

Aff. ¶¶7,12; Rosas Tr. 89:17-20). For example, in August of 2011, Plaintiff was frustrated with

the demeaning tone with which Defendant Balter was addressing him and his similarly situated

Hispanic co-workers and told Defendant Balter, “You can’t be talking to us like this. It’s



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disrespectful. It’s offensive to me.” (Rosas Tr. 121:19-122:9; 133:7-134). Defendant Balter

responded, further highlighting his contempt toward his minority employees, “What is it with

you guys…you must have a Latin attitude.” Defendant Balter further inflamed the situation by

adding, “I can’t believe the way things are going in the recession that you can tell me that

you think I am talking offensive,” insinuating that Plaintiff would have to endure his

harassment or be terminated with little hope of finding a new job. (Rosas Tr. 121:19-122:9;

133:7-134). Plaintiff again complained to Defendant Balter in December 2011 and said, “Why

are you always so offensive towards us? Why are you always so offensive towards me, the

Spanish guys, and even the Black guys?” (Rosas Tr. 133:7-134).

       Aside from the racial discrimination, Defendant Rosenberg drew penises on Plaintiff’s

paychecks. Defendant Rosenberg also touched Plaintiff’s buttocks, tried to lick Plaintiff’s face,

tried to nibble on Plaintiff’s ear, and stuck his tongue out at Plaintiff in a sexually suggestive

manner. (Pl. Aff. ¶¶8-10; Rosas Tr. 41:9-16; Rivera Tr. 40:19-24; Mungo Tr. 19:3-17; 20:9-25;

43:23-25; 57:9-12; Freedman Decl. Ex. A).

       In spite of Plaintiff’s complaints regarding the racial and sexual harassment, the

discriminatory treatment did not cease. Rather, less than four weeks later, Plaintiff was

terminated for having complained about the discrimination, under the pretext that he stole

property from Defendants. (Pl. Aff. ¶13; Rosas Tr. ¶188:14-191:14; Pardo Tr. 14:2-6). In fact,

when Defendant Balter terminated Plaintiff, he brought Plaintiff into his office and demanded

Plaintiff sign a blank union grievance form and offered no documentary evidence as to

Plaintiff’s alleged theft. (Pl. Aff. ¶¶14-15; Rosas Tr. 188:14-24; 190:25-191:14; 215; 222:19-25).

Moreover, Defendants have a history of accusing their employees of stealing. (Mungo Tr. 6:18-

13:3; Rivera Tr. 9:25-10:4).



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        Upon Plaintiff’s termination, he told Defendant Balter that he intended to hire an

attorney. (Pl. Aff. ¶16). Shortly thereafter, Plaintiff retained his current counsel. In retaliation for

engaging an attorney, Defendants filed criminal charges against Plaintiff, claiming that Plaintiff

stole several boxes of champagne flutes totaling $700.40. (Balter Tr. 36:21-37:25). However, the

criminal charges against Plaintiff were dismissed on July 24, 2012. Defendants’ employee

verified that Plaintiff did not steal any property and that the missing merchandise was actually

found by Defendants. (Pardo Tr. 13:14-14:17; Freedman Decl. Ex. I). Despite knowing that the

missing merchandise was found, Defendants filed a counterclaim against Plaintiff for conversion

which was really thinly veiled retaliation for Plaintiff having filed his original complaint.

                                           ARGUMENTS

  I.    THE LEGAL STANDARD

        Under Fed. R. Civ. P. 56(c), summary judgment is warranted only when there are no

genuine issues of material fact. A genuine issue of material fact exists if, based on the record as a

whole, a reasonable trier of fact could return a verdict for the non-moving party. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242 (1986). The burden to show that there are no genuine issues of

fact rests with the party seeking summary judgment. Anderson, 477 U.S. at 256. A fact is

“material” only if its existence or non-existence would affect the outcome of the suit under

governing law. Id. at 249. In determining whether genuine issues of material fact exist, all

inferences must be drawn, and all doubts must be resolved, in favor of the non-moving party.

Coregis Ins. Co. v. Baratta & Fenerty, Ltd., 264 F.3d 302, 305-06 (3rd Cir. 2001) (citing

Anderson, 477 U.S. at 248).

        “When deciding a summary judgment motion, a trial court’s function is not to weigh the

evidence, make credibility determinations or resolve issues of fact, but rather to determine


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whether, drawing all reasonable inferences from the evidence presented in favor of the

nonmoving party, a fair-minded jury could find in the non-moving party’s favor.” Beatie v. City

of New York, 123 F.3d 707, 710 (2d Cir. 1997). The weighing of evidence and the assessment of

credibility are matters that lie exclusively within the province of the finder of fact, not the Court.

Hayes v. New York City Dept. of Corr., 84 F.3d 614, 619 (2d Cir. 1996).

        “In employment discrimination cases where it is necessary to explore an employer's

intent and motivation, summary judgment may not be appropriate.” Bhaduri v. Summit Sec.

Servs., 2006 U.S. Dist. LEXIS 79830, at *11-12 (S.D.N.Y. 2006)(citing Patrick v. LeFevre, 745

F.2d 153, 159 (2d Cir. 1984). “[A]n extra measure of caution is merited in affirming

summary judgment in a discrimination action because direct evidence of discriminatory

intent is rare and such intent often must be inferred from circumstantial evidence found in

affidavits and depositions.” Blanco v. Brogan, 620 F. Supp. 2d 546 (S.D.N.Y. 2009)(emphasis

added) (citing Gallo v. Prudential Residential Servs., 22 F.3d 1219, 1224 (2d Cir. 1994)).

 II.    THERE ARE GENUINE ISSUES OF MATERIAL FACT CONCERNING
        PLAINTIFF’S 1981 CLAIM

           a. Plaintiff Has Established a Prima Facie Case of Race Discrimination Under
              §1981, The New York State Human Rights Law (“NYSHRL”) and The New
              York City Human Rights Law (“NYCHRL”)

        Employment discrimination claims brought under 42 U.S.C. §1981 are analyzed at the

summary judgment stage under the burden shifting framework established by the Supreme Court

in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973). See also Ruiz v. Cnty. Of

Rockland, 609 F. 3d 486, 491 (2d Cir. 2010).

        To establish a prima facie case of discrimination under Section 1981, the NYSHRL and

the NYCHRL, a plaintiff must demonstrate that: (1) he is a member of a protected class; (2) he

was qualified for his job; (3) he suffered an adverse employment action; and (4) the adverse

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action occurred under circumstances giving rise to an inference of discrimination. 2 McDonnell

Douglas, 411 U.S. at 802. If plaintiff meets the minimal burden of establishing a prima facie

case, the burden of production then shifts to defendants to offer a legitimate, non-discriminatory

reason for the adverse employment action. Id. at 802-803. See also Terry v. Ashcroft, 336 F.3d

128 (2d Cir. 2003)(citing Collins v. New York City Transit Auth., 305 F.3d 113, 118 (2d Cir.

2002).

         Plaintiff has sufficiently established a prima facie case under §1981, the NYSHRL and

the NYCHRL. First, in this case, Plaintiff is a member of a protected class because he is

Hispanic. Second, Plaintiff was qualified for his position as Driver. “To show qualification for a

job, a plaintiff must only offer evidence that he or she has the ‘basic skills necessary for

performance of [the] job.’” Winston v. Verizon Servs. Corp., 633 F. Supp. 2d 42, 49 (S.D.N.Y.

2009)(citing Slattery v. Swiss Reinsurance America Corp., 248 F.3d 87, 92 (2d Cir. 2001). The

evidence shows that Plaintiff was qualified for his position as Driver. (Pl. Aff ¶2; Rosas Tr.

138:5-13). With respect to the third prong, Plaintiff established that he suffered an adverse

employment action when he was terminated. There is no dispute that Plaintiff’s termination

qualifies as an adverse employment action. (Defendants’ Brief at pg. 3).

         Finally, with respect to the fourth prong, Plaintiff has sufficiently established that his

termination occurred under circumstances giving rise to an inference of discrimination. Plaintiff

may “meet this burden by proffering evidence of ‘the employer’s criticism of the plaintiff’s

performance in ethnically degrading terms; or its invidious comments about others in the

employee’s protected group; or the more favorable treatment of employees in the protected



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       “Employment discrimination claims brought under 42 U.S.C. §1981, the NYSHRL and
the NYCHRL are generally analyzed under the same evidentiary framework that applies to Title
VII.” Barbosa v. Continuum Health Partners, Inc., 716 F. Supp. 2d 210, 217 (S.D.N.Y. 2010).
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group.’” Williams v. McCausland, Case No. 90 Civ. 7563 (RW) (THK), 1995 WL 548862, *13

(S.D.N.Y. Sept. 15, 1995)(citing Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 37 (2d Cir.

N.Y. 1994).

       Testimony in this case is replete with examples of how Defendants treated minorities

differently (less well) than similarly situated Caucasian employees. Plaintiff’s former co-workers

testified that Defendant Balter treated white employees differently than Hispanic and Black

employees. Specifically, Rivera testified, “you know what, he had his favorites, and his favorite

was the white guys.” (Rivera Tr. 79:8-15). Mark Mungo also testified that Defendant Balter

treated white employees better than Black or Hispanic employees. (Mungo Tr. 67:7-11).

       Plaintiff also testified that Defendant Balter “changed his way of speaking when he spoke

to someone that was Latin. He just didn’t talk his normal way, he would try to mimic the way

Latins talk.” (Rosas Tr. 123:17-21). Plaintiff also made clear that Defendant Balter was making

fun of him and his Hispanic heritage by mimicking a Spanish accent. (Rosas Tr. 129:15-24).

This was further confirmed by William Rivera. (Rivera Tr. 97:23-98:7). Moreover, this

discriminatory behavior occurred nearly every time Defendant Balter spoke to Plaintiff. (Rosas

Tr. 132:2-9; Rivera Tr. 95:12-96:2). Another of Plaintiff’s former co-workers, Cam Pardo, a

current employee of Defendant Balter Sales, testified that Defendant Balter called him a “stupid

Columbian,” further confirming Defendant Balter’s contempt for his minority employees.

(Pardo Tr. 24:21-25:2). Nevertheless, Defendants deny these facts. (Balter Tr. 11:14-16).

           b. Plaintiff Has Established a Hostile Work Environment Claim Under §1981,
              The NYSHRL and The NYCHRL




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       To prevail on a hostile work environment claim under §1981 and the NYSHRL,3 a

plaintiff must demonstrate:     “(1) that [his] workplace was permeated with discriminatory

intimidation that was sufficiently severe or pervasive to alter the conditions of [his] work

environment, and (2) that a specific basis exists for imputing the conduct that created the hostile

environment to the employer.” Van Zant v. KLM Royal Dutch Airlines, 80 F.3d 708, 715 (2d Cir.

1996). The conduct alleged must be severe or pervasive enough to create an environment that

“would reasonably be perceived, and is perceived, as hostile or abusive.” Harris v. Forklift Sys.,

Inc., 510 U.S. 17, 22 (1993). See also, Doe v. R.R. Donnelley & Sons Co., 42 F.3d 439, 444 (7th

Cir. 1994)(“the conduct in question is to be judged by both an objective and a subjective

standard.”).

                        i.    Plaintiff Was Subjected to a Hostile Work Environment

       In determining whether an environment is hostile, the Court must consider the totality of

the circumstances. Harris, 510 U.S. at 23. “Hostile work environment claims are evaluated by

looking at all of the circumstances, which may include the ‘frequency of the discriminatory

conduct; its severity; whether it is physically threatening or humiliating, or a mere offensive

utterance; and whether it unreasonably interferes with an employee’s work performance.’”

Chukwueze v. NYCERS (N.Y. City Emples. Ret. Sys.), 891 F. Supp. 2d 443, 454 (S.D.N.Y.

2012)(quoting Harris, 510 U.S. at 23).

       In this case, Plaintiff was repeatedly subjected to racial discrimination. Plaintiff himself

testified that Defendant Balter “changed his way of speaking when he spoke to someone that was

Latin. He just didn’t talk his normal way, he would try to mimic the way Latins talk.” (Rosas



3
       The standards for evaluating hostile work environment claims under Title VII, Section
1981, and the NYSHRL are identical. Smith v. Town of Hempstead Dep’t of Sanitation Sanitary
Dist. No. 2, 798 F. Supp. 2d 443, 451 (E.D.N.Y. 2011).
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Transcript 123:17-21; 129:15-24). More significantly, Defendant Balter’s behavior occurred

nearly every time he and Plaintiff spoke. (Rosas Tr. 132:2-9). Defendant Balter’s discriminatory

behavior is corroborated by Mr. Rivera who testified that Defendant Mark used a Spanish accent

when speaking to Plaintiff “[a]ll the time.” (Rivera Tr. 95:12-96:2).

       Plaintiff’s allegations certainly rise to the level of severe or pervasive under the law.

Indisputably, the Second Circuit has found that a stream of racially offensive comments is

sufficient to constitute a hostile work environment. See e.g., Whidbee v. Garzarelli Food

Specialities, Inc., 223 F.3d 62 (2d Cir. 2000)(emphasis added). See also Pozo v. J & J Hotel Co.,

L.L.C., No. 06 Civ 2004 (RCC) (AJP), 2007 WL 1376403 (S.D.N.Y. May 10, 2007)(denying

summary judgment where, on a daily basis over a period of five years, supervisor taunted maid

about her Cuban accent and told her to go back to Cuba if she didn’t like the working

conditions); Schwapp v. Town of Avon, 118 F.3d 106 (2d Cir. 1997)(denying summary judgment

in case where plaintiff recounted ten racially-hostile incidents during 20-month tenure). Plaintiff

also subjectively experienced a hostile work environment. Plaintiff testified to the humiliation he

experienced and the destructive impact that Defendant Balter’s discriminatory conduct had on

his work environment. (Rosas Tr. 159:20-162:3, 176:12-20).

       Even assuming, arguendo, that the Court were to grant summary judgment for Plaintiff’s

hostile work environment claims under §1981 and the NYSHRL, the Court must find that

Plaintiff’s claims meet the more protective standard under the NYCHRL. “The New York City

Human Rights Law was intended to be more protective than the state and federal counterpart.”

Williams v New York City Hous. Auth., 872 N.Y.S.2d 27 (1st Dept. 2009)(quoting Farrugia v.

North Shore Hospital, 820 N.Y.S.2d 718 (2006). The harassment no longer has to be severe or

pervasive but rather, the burden is on the employer to show that the conduct at issue was no



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more than petty slight or trivial inconvenience. Williams, 872 N.Y.S. 2d 27. “[I]n enacting the

more protective Human Rights Law, the New York City Council has exercised a clear policy

choice which this Court is bound to honor [. . .]. Thus, the case law that has developed in

interpreting both the [state and federal anti-discrimination statutes] should merely serve as a

base for the New York City Human Rights Law, not its ceiling.” Jordan v. Bates Advertising

Holdings, Inc., 816 N.Y.S.2d 310, 317 (N.Y.Sup. 2006). Plaintiff’s claims clearly meet both the

more stringent severe or pervasive NYSHRL standard as well as the NYCHRL standard.

                     ii.      Defendant Balter’s Racially Discriminatory Conduct is
                              Imputed to Defendant Balter Sales

       An employer is liable for a hostile work environment where the employer “knew (or

reasonably should have known) about the harassment but failed to take appropriate remedial

action.” Cajamarca v. Regal Entm’t Grp., 863 F. Supp. 2d 237, 246 (E.D.N.Y. 2012). “Once an

employer has knowledge of a racially combative atmosphere in the workplace, he has a duty to

take reasonable steps to eliminate it.” Snell v. Suffolk County, 782 F.2d 1094 (2d Cir. 1986).

       Here, the employer clearly had knowledge of the harassment because Defendant Balter

(an owner) was a harasser. (Balter Tr. 8:5-6). Moreover, not only was owner Defendant Balter

the harasser, which makes him liable, but, because he was an owner, the discriminatory conduct

can be imputed automatically to the company. See e.g., Burns v. McGregor Electronic

Industries, Inc., 955 F.2d 559, 564 (8th Cir. 1992)(finding employer-company liable where the

harassment was perpetrated by its owner); Torres v. Pisano, 116 F.3d 625 (2d Cir. 1997)(finding

that a supervisor may hold a sufficiently high position “in the management hierarchy of the

company for his actions to be imputed automatically to the employer.”).




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III.    THERE ARE GENUINE ISSUES OF MATERIAL FACT CONCERNING
        PLAINTIF’S SEXUAL HARASSMENT CLAIM

           a. Plaintiff Has Established a Prima Facie Case of Sexual Harassment Under
              The NYSHRL and The NYCHRL

        The fundamental analysis for a sexual harassment claim is no different for same-sex

sexual harassment. Nothing in either the NYSHRL or the NYCHRL bars a claim of

discrimination because of sex merely because the plaintiff and the defendant are of the same sex.

Tepperwien v. Entergy Nuclear Operations, Inc., 606 F. Supp. 2d 427, 438 (S.D.N.Y. 2009). A

plaintiff can prevail in a same-sex sexual harassment case if he presents: (i) evidence that the

harasser was homosexual and the harassment was motivated by sexual desire; (ii) evidence that

the harasser was motivated by a hostility to the presence of the plaintiff’s sex in the workplace;

or (iii) evidence that the harasser treated men and women differently.

        Plaintiff Rosas admittedly was unsure of Defendant Rosenberg’s sexual orientation

(Rosas Tr. 40:7-14). However, evidence in this case makes clear that Defendant Rosenberg

treated male employees differently than female employees. In other words, Defendant

Rosenberg’s conduct was prompted because of Plaintiff’s gender. For example, shortly after

Plaintiff started working for Defendants, Defendant Rosenberg began drawing penises on

Plaintiff’s paychecks. (Pl. Aff. ¶9-11; Rosas Tr. 59:2-17). In fact, Defendant Rosenberg drew

penises on other male employees’ checks. For example, Mark Mungo confirmed that Defendant

Rosenberg drew penises on all the drivers’ checks, all of whom were male. (Mungo Tr. 19:3-5;

20:9-25). William Rivera further confirmed that Defendant Rosenberg did in fact draw penises

on checks, as did another co-worker, David Vaughn. (Rivera Tr. 40:19-21; Freedman Decl., Ex.

A). Nowhere in the record is there any evidence that Defendant Rosenberg was drawing penises

on any of Defendant Balter Sales’ female employees’ checks. Nor was Defendant Rosenberg



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touching Defendant Balter Sales’ female employees’ buttocks, trying to stick out his tongue in an

attempt to lick Defendant Balter Sales’ female employees or trying to nibble any female

employees’ ears. (Pl. Aff. ¶11; Mungo Tr. 20:20-21:4; Rivera Tr. 24:24-25:2; Rosas Tr. 110:19-

23). Accordingly, Plaintiff has demonstrated that Defendant Barry Rosenberg certainly treated

Plaintiff and other male employees much differently than their female counterparts.

           b. Plaintiff Was Subjected to a Sexually Hostile Work Environment
       To make out a prima facie case of a sexually hostile work environment under the

NYSHRL and the NYCHRL, a plaintiff must demonstrate: “(1) that [his] workplace was

permeated with discriminatory intimidation that was sufficiently severe or pervasive to alter the

conditions of [his] work environment, and (2) that a specific basis exists for imputing the

conduct that created the hostile environment to the employer.” Van Zant, 80 F.3d at 715. The

conduct alleged must be severe or pervasive enough to create an environment that “would

reasonably be perceived, and is perceived, as hostile or abusive.” Harris, 510 U.S. at 22. As

already set forth herein in Section II(b)(i), in determining whether an environment is hostile, the

Court must consider the totality of the circumstances. Id.

       Defendants, whose own management personnel are unsure whether a formalized anti-

harassment policy exists (Balter Tr. 23:9-11; Lori Balter Tr. 9:2-6), boldly claim that Plaintiff’s

description of the sexually harassing conduct he endured is not credible. Defendants’ purely

speculative suggestion is belied by the testimony in this case replete with examples of the sexual

harassment perpetrated upon Plaintiff. In this case, Defendant Rosenberg repeatedly harassed

Plaintiff. Defendant Rosenberg drew penises on Plaintiff’s paycheck approximately seven times

during the course of Plaintiff’s employment, and continued to do so even when Plaintiff asked

him to stop. (Pl. Aff. ¶¶8-9; Rosas Tr. 68:2-12; 84:22:24; 92:2-25; Rivera Tr. 40:19-24; Mungo

Tr. 54:3-5). Defendant Rosenberg also physically touched Plaintiff’s buttocks. (Pl. Aff. ¶10;

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Rosas Tr. 41:11-16; Mungo Tr. 43:23-44:4; 57:9-17).           Defendant Rosenberg tried to lick

Plaintiff’s face and stuck his tongue out in a sexually suggestive manner approximately three

times over the course of Plaintiff’s employment. (Pl. Aff. ¶10; Rosas Tr. 42:3-8; Mungo Tr.

43:15-44:23; 47:15-17). All of the incidents occurred while Plaintiff was trying to perform his

job. In fact, on one occasion, Defendant Rosenberg was riding with Plaintiff on a run and tried to

lick Plaintiff’s face while Plaintiff was driving, not only sexually harassing Plaintiff, but also

putting both Plaintiff and Defendant Rosenberg in danger. (Pl. Aff. ¶10; Rosas Tr. 44:21-23).

Defendant Rosenberg also tried to nibble on Plaintiff’s ear. (Pl. Aff. ¶10; Rosas Tr. 41:11-16).

       Plaintiff’s allegations certainly rise to the level of severe or pervasive under the law. See,

e.g., Wahlstrom v. Metro-N. Commuter R.R. Co., 89 F. Supp. 2d 506, 521 (S.D.N.Y. 2000)

(allegation that co-worker slapped plaintiff's buttocks sufficient to withstand summary judgment

on sexually hostile environment claim as slap was neither harmless nor accidental); Reid v.

Ingerman Smith LLP, 876 F. Supp. 2d 176, 186 (E.D.N.Y. 2012)(finding that plaintiff, whose

breast was squeezed, pleaded unwanted sexual contact sufficient to defeat defendants’ motion

because direct contact with an intimate body part constitutes one of the most severe forms of

sexual harassment). Moreover, Defendant Rosenberg’s sexually harassing behavior extends far

beyond the bounds of any sort of male-on-male horseplay or teasing and that a reasonable person

in Plaintiff’s position would find severely hostile or abusive. See e.g., Oncale v. Sundowner

Offshore Servs., Inc., 523 U.S. 75, 81-82 (1998). Plaintiff also subjectively experienced a

sexually hostile work environment. Plaintiff testified that he was humiliated and emotionally

distressed by Defendant Rosenberg’s sexually harassing conduct (Rosas 58:19-25; 76:8-20;

92:23-25; 108:7-12).




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         Even assuming, arguendo, that the Court were to grant summary judgment for

Plaintiff’s hostile work environment claims under the NYSHRL, the Court must find that

Plaintiff’s claims meet the more protective standard under the NYCHRL – that the sexual

harassment at issue here rises, at the very least, to petty slights or trivial inconveniences. Again,

it is well-settled that “[t]he New York City Human Rights Law was intended to be more

protective than the state and federal counterpart. Williams, 872 N.Y.S. 2d at 33. (quoting

Farrugia, 820 N.Y.S.2d 718). As argued above, in light of the material facts and prevailing case

law, because Plaintiff’s claims clearly meet the higher severe or pervasive standard, they

similarly meet the more protective NYCHRL standard.

           c. Defendant Balter Sales Was Aware of the Sexually Hostile Work
              Environment But Failed to Take Corrective Action

       An employer is liable for a hostile work environment where the employer “knew (or

reasonably should have known) about the harassment but failed to take appropriate remedial

action.” Cajamarca, 863 F. Supp. 2d at 246.

       In the instant case, Defendant Balter Sales was clearly aware of the sexual harassment

because Plaintiff complained about it to his immediate supervisor, Anthony Castriello, union

representative William Rivera, as well as Defendant Balter, an owner of Defendant Balter Sales.

Mark Mungo, another employee, also placed Defendants on notice when he complained to owner

Lori Balter several times after Defendant Rosenberg drew penis drawings on his checks. (Rosas

Tr. 90:3-4; Mungo Tr. 19:8-20:4). Thus, Defendant Balter Sales is clearly liable for the sexually

hostile work environment.




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IV.       PLAINTIFF HAS ESTABLISHED A PRIMA FACIE CASE OF RETALIATION
          UNDER 42 U.S.C. § 1981, THE NYSHRL AND THE NYCHRL

          To establish a prima facie case of retaliation, Plaintiff must demonstrate that he (1)

engaged in protected activity; (2) the Defendants were aware of this protected activity; (3) the

Defendants took adverse action against the Plaintiff; and (4) there exists a causal connection

between the protected activity and the adverse action. Shelton v. Trs. of Columbia Univ., 369

Fed. App’x. 200, 201 (2d Cir. 2010)(citing Holtz v. Rockefeller & Co., 258 F.3d 62, 79 (2d Cir.

2001).4

          In this case, Plaintiff engaged in protected activity when he complained to his supervisors

Defendant Mark Balter, Anthony Castriello and Defendant Barry Rosenberg, and union shop

steward William Rivera, about Defendant Balter’s racially discriminatory conduct as well as

Defendant Rosenberg’s sexually discriminatory conduct. Plaintiff’s deposition testimony

identifies numerous instances when Plaintiff complained of both the racially discriminatory and

sexually harassing conduct. (Pl. Aff. ¶¶7,12; Rosas Tr. 50:10-23; 54:12-25; 55:12-17; 62:23-63-

14; 67:21-25; 89:17-90:91-2; 93:6-23; 94:13-25; 133:18-134:3.) William Rivera further

corroborated that Plaintiff did in fact complain. (Rivera Tr. 21:19-22:20; 29:16-25). Defendants

categorically deny this, further creating issues of fact and credibility. (Balter Tr. 16:3-6; 19:17-

21). Plaintiff also engaged in protected activity when, first he told Defendant Balter that he was

going to retain an attorney, and then when Plaintiff actually did retain an attorney and initiated

this action on August 27, 2012 (and sent a claim letter and litigation hold letter prior to that on

February 13, 2012) (Pl. Aff. 16).




4
      The Supreme Court has held that §1981 also protects workers from retaliation for having
complained of discrimination. CBOCS West, Inc. v. Humphries, 553 U.S. 442 (2008).
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       There is no genuine issue of fact regarding the protected nature of Plaintiff’s complaints.

The Second Circuit has repeatedly held that an employee “need not establish that the conduct

they opposed was in fact a violation of Title VII,” but rather only that he had a “good faith

reasonable belief” that the underlying employment practice was unlawful. Manoharan v.

Columbia College of Physicians & Surgeons, 842 F.2d 590, 593 (2d Cir. 1988). Opposition

conduct does not lose protection even when the allegedly unlawful employment practice was

later determined not to be in violation of Title VII. Hearth v. Metropolitan Transit Commission,

436 F. Supp. 635 (D. Minn. 1977). Thus, all that is necessary is a good faith reasonable belief

that Plaintiff’s claims regarding Defendants’ employment practices were in violation of §1981,

the NYSHRL and the NYCHRL. Despite Defendants’ every effort to show that Plaintiff

complained about issues other than unlawful discrimination (Plaintiff concedes he complained

about unsafe truck conditions and Defendants’ failure to adequately pay overtime), Plaintiff also

indisputably complained about a litany of Defendants’ conduct that violated §1981, the

NYSHRL and the NYCHRL. Plaintiff has certainly met this standard and Defendants cannot

show that Plaintiff’s claims of race discrimination and sexual harassment were not genuinely or

reasonably held.

       Following Plaintiff’s termination, Defendants further retaliated against Plaintiff (for

Plaintiff retaining counsel) by filing a police report against Plaintiff alleging he stole property

from Defendants. However, criminal charges against him were dismissed on July 24, 2012.

Moreover, Defendants’ own employees verified that Plaintiff did not steal any property. (Pardo

Tr. 14:5-14; Freedman Decl. Ex. I). Defendants further retaliated against Plaintiff by filing a

counterclaim in its answer in retaliation for Plaintiff engaging in the protected activity of

retaining an attorney and filing his initiating complaint in this action. Defendants’ counterclaim



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was baseless in light of the fact that the merchandise was not only found (as attested to by Cam

Pardo and William Rivera)(Pardo Tr. 14:5-14; Freedman Decl. Ex. I), but also that Defendants

lacked any scintilla of evidence that Plaintiff stole any merchandise. In fact, when pressed,

Defendants could not substantiate any of its baseless theft allegations, as set forth in further

detail below, in Section IV(ii). Defendants continue to allege Plaintiff took merchandise in spite

of the fact that Pardo testified that the alleged stolen merchandise was found just a few days after

New Year’s. (Pardo Tr. 14:2-15:9; Freedman Decl. Ex. I). Moreover, courts in this District have

repeatedly found counterclaims lacking evidentiary support in employment lawsuits to be

retaliatory. See, e.g., Torres v. Gristede’s Operating Corp., 628 F. Supp. 2d 447, 466-67

(S.D.N.Y. 2008)(granting plaintiff’s motion for summary judgment after finding that defendant’s

counterclaims lacked any basis or evidentiary support).

       Defendant was also aware of the protected activity as Plaintiff made direct complaints to

Defendant Balter, Plaintiff’s supervisor Anthony Castriello, and union shop steward William

Rivera. Defendants’ claim that they were not aware of Plaintiff’s complaints because there is no

documentary evidence is contradicted by testimony. (Rosas Tr. 46:10-17; 48:9-15; 54:22-55:4;

89:17-20; 276:2-8; Rivera Tr. 25:10-12; 44:13-19; 85:5-13; Mungo Tr. 19:18-25). While

Plaintiff’s proffered testimony alone is sufficient for the purposes of summary judgment,

Plaintiff’s version of events is extremely compelling in light of the fact that non-party witness

William Rivera also testified that Defendant Balter did receive complaints from Plaintiff. (Rivera

Tr. 25:10-12). Again, because Defendants deny that they were ever informed of the

discrimination, Defendants have in fact created clear issues of material fact and credibility,

which preclude summary judgment. With respect to the third prong, Plaintiff established that he

suffered an adverse employment action when he was terminated by Defendant.



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                   i. Plaintiff has established a causal connection between the protected
                      activity and the adverse action

       “The final element in plaintiffs’ prima facie case is to demonstrate a causal relationship

between the protected activity and the adverse employment action” Hicks v. Baines, 593 F.3d

159, 170 (2d Cir. 2010)(internal citations omitted). A plaintiff “must establish that his or her

protected activity was a but-for cause of the alleged adverse action by the employer.” University

of Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2534 (2013).

       [P]roof of causation can be shown either: (1) indirectly, by showing that the protected
       activity was followed closely by discriminatory treatment, or through other circumstantial
       evidence such as disparate treatment of fellow employees who engaged in similar
       conduct; or (2) directly, through evidence of retaliatory animus directed against the
       plaintiff by the defendant.

Hicks, 593 F.3d at 170 (quotation omitted). The Court’s “role…is to determine only whether

proffered admissible evidence would be sufficient to permit a rational trier of fact to infer a

retaliatory motive.” Jute v. Hamilton Sundstrand Corp., 420 F.3d 166, 173 (2d Cir.

2005)(citation omitted).

       “In this circuit, a plaintiff can indirectly show a causal connection to support a

discrimination or retaliation claim by showing that the protected activity was closely followed in

time by the adverse [employment] action.” Gorman-Bakos v. Cornell Coop. Extension of

Schenectady County, 252 F.3d 545, 554 (2d Cir. 2001). While there is no “bright line rule” to

define “the outer limits beyond which a temporal relationship is too attenuated to establish a

causal relationship, Sicular v. N.Y.C. Dep’t of Homeless Servs., No. 09-CV-0981, 2010 WL

423013, at *97-*98 (S.D.N.Y. Feb. 4, 2010) (citing Gorman-Bakos, 252 F.3d at 554), district

courts have held “two months between the protected activity and the adverse employment action

seems to be the dividing line.” Id. (citing Ruhling v. Tribune Co., 2007 WL 28283, *23

(E.D.N.Y. Jan. 3, 2007))(emphasis added).


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       Plaintiff has established that his complaints of racial discrimination and sexual

harassment were a but-for cause of Plaintiff’s termination. Following Plaintiff’s last complaint to

management, on December 7, 2011, he was subsequently terminated a mere three weeks later.

(Pl. Aff. ¶13; Rosas Tr. 90:3-91:2). As the aforementioned set forth, Defendants’ contention that

Plaintiff was terminated for theft is contradicted. Plaintiff’s complaints of discrimination and

subsequent termination plainly fall within this accepted time frame.

       Plaintiff has also established that, but for Plaintiff retaining an attorney and subsequently

filing this action, Defendants would not have filed the police report against Plaintiff and would

not have filed the counterclaim against Plaintiff. Plaintiff told Defendant Balter that he intended

to obtain an attorney to pursue a harassment and discrimination case against Defendants on

January 3, 2012, when Defendants terminated him. (Pl. Aff ¶16). The very next day Defendants

filed their first police report against Plaintiff. Shortly thereafter, on February 1, 2012, Defendant

Balter sent letters to the New York Department of Labor in an effort to deny Plaintiff

unemployment. Defendants’ retaliation continued when, after Plaintiff filed his initial complaint,

Defendants filed a counterclaim against him.

       Moreover, it is certainly worth noting that William Rivera, a former employee of

Defendant Balter Sales,5 is the only other employee who secured counsel to help him protect his

rights and, in retaliation for retaining an attorney and in further retaliation for acting as a witness

in this case, Mr. Rivera was similarly accused of theft by Defendants, and arrested,6 clearly

demonstrating a pattern and practice of retaliation by Defendants when employees get lawyers.



5
       Mr. Rivera suffers from diabetes and was allegedly terminated because of his disability
on April 27, 2012.
6
       In fact, on August 30, 2013, the EEOC issued a determination on behalf of Mr. Rivera as
follows: “The Commission’s investigation reveals that [Defendant Balter Sales’] proffered
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                     ii. Defendants’ Proffered Non-Discriminatory Reasons for their Adverse
                         Employment Actions are Pretext

       Summary judgment is inappropriate “unless the defendants’ proffered nondiscriminatory

reason is dispositive and forecloses any issues of material fact.” Back v. Hastings on Hudson

Union Free Sch. Dist., 365 F.3d 107, 124 (2d Cir. 2004)(quoting Carlton v. Mystic Transp., Inc.,

202 F.3d 129, 135 (2d Cir. 2000). Summary judgment should not be granted here because

Defendants do not offer legitimate reasons for their actions against Plaintiff – any reasons given

are merely pretext for discrimination.

       In order to show pretext, the plaintiff “may show that a discriminatory reason, rather than

the proffered reason, more likely motivated the employer, or that the explanation the employer

provided is ‘unworthy of credence.’” Gladwin v. Pozzi, No. 06 Civ. 0650 (SCR) (JFK), 2010 WL

245575, *22-*23 (S.D.N.Y. Jan. 22, 2010)(citing Texas Dept. of Comm. Affairs v. Burdine, 450

U.S. 248, 255 (1981)). To do so, a “plaintiff may demonstrate pretext by illuminating ‘such

weaknesses, implausibilities, inconsistencies, incoherencies, or contradictions in the employer’s

proffered legitimate reasons’ that would raise doubt in the fact finder’s mind that the employer

did not act for those reasons.” Id. (citing Bogdan v. N.Y. City Transit Auth., No. 02 Civ 09587

(GEL), 2005 WL 1161812 (S.D.N.Y. May 17, 2005)).

       Defendants misguidedly argue that Plaintiff was terminated for stealing glasses as

justification for his termination. However, the evidence does not support this as there is neither

direct, nor indirect, evidence to substantiate this allegation. Cam Pardo testified that he actually

found the glasses:

           A: …I did locate them.


reasons for not committing retaliation against [Mr. Rivera] are not supported by the record.
Based on the evidence on file, [Defendant Balter Sales] did in fact lure [Mr. Rivera] to a good-
faith mediation so he could be arrested.”
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           Q: And – okay. Continue. I’m sorry.
           A: And I had called Ray to tell him that I found the glasses. And I even told Marc, I
           called Marc and Laurie. I actually called Laurie first to notify them that I located the
           glassware that was shipping directly. (Pardo Tr. 13:19-14:14; Pardo Tr. 15:4-18).

       The evidence in this case is awash with additional examples of Defendants’ pretext. For

example, Defendant Balter clearly testified that, with respect to the packing slips that Defendants

claim Plaintiff changed, he did not know for a fact that Plaintiff actually changed any

document, nor did anyone actually tell him that Plaintiff changed any of the packing slips.

(Balter Tr. 34:8:-17; 49:3-6; Lori Balter Tr. 20:17:19). Defendant Rosenberg also confirmed that

he had no firsthand knowledge as to whether Plaintiff actually stole anything. (Rosenberg Tr.

23:11-15). During his deposition, Defendant Balter even said that, “I have to be very careful of

accusing anybody of anything without evidence” (Balter Tr. 32:12-14), yet, he claimed he made

the decision to terminate Plaintiff after reviewing video footage from Defendant Balter Sales’

warehouse. However, it is clear from both Defendant Balter’s and Defendant Rosenberg’s

testimony that the video footage sheds no light upon whether Plaintiff or any other employee

took any merchandise. In fact, Defendant Balter swore in his affidavit in support of his complaint

to the Assistant District Attorney (“ADA”) that Defendant Barry Rosenberg inventoried

Plaintiff’s pallets and reviewed the packing slip with Plaintiff prior to allowing Plaintiff to leave

Defendant Balter Sales’ warehouse for the day. However, during Defendant Balter’s deposition,

he admitted that video footage revealed that in fact no warehouse manager reviewed packing

slips with Plaintiff (which Plaintiff was not responsible for packing). (Pl. Aff. ¶¶24-26; Balter Tr.

59:3-21; 60:2-7; 61:25-62-19; 63:1-66; 67:2-7).

       The video also revealed that, in spite of the fact that both Defendant Balter and Defendant

Rosenberg swore under oath that Defendant Rosenberg witnessed Plaintiff load the allegedly




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stolen merchandise onto his truck, Defendant Balter and Defendant Rosenberg later admitted that

the video evidence is to the contrary.7 (Balter Tr. 64:6-66; 67:2-7; Rosenberg Tr. 24:6-24).

       Q: But you agree with me that Mr. Rosenberg did not witness, at least on the video that
       was shown, did not actually watch Ray load the truck?
       A: He didn’t watch him load the truck, correct. (Balter Tr. 64:6-66; 67:2-7).
       Q: Did you witness Ray Rosas load his pallet, his delivery onto the truck?
       A: No. (Rosenberg Tr. 39:25-40:3)

       Q: He loads up whatever that little handle thing is to pull the pallet. So you do you agree
       with me this video does not show you going over that pallet or anything on it with Ray?
       A. Yes, I do agree. (Rosenberg Tr. 45:7-22).

       As yet another example of Defendants’ false justification for Plaintiff’s termination,

Defendant Balter, in his sworn affidavit to the ADA, testified that Minerva Taron, an employee

at Elmo Restaurant, specifically named Plaintiff and said that Plaintiff did not deliver any boxes

of champagne flutes as part of the shipment on said date. However, during her deposition, when

asked whether she knew who Plaintiff Rosas was, Ms. Taron testified that, “The name doesn’t

sound familiar at all.” (Taron Tr. 8:9-11; 18:3-5).

       Defendant Balter’s complaint to the ADA is rife with other inconsistencies as well. For

example, Defendant Balter testified that he spoke with Eustorgio Bonilla, of Becco restaurant,

and was informed by Mr. Bonillo that Plaintiff did not deliver any boxes of champagne flutes.

However, when pressed at his deposition, Defendant Balter admitted that he never actually spoke

with Mr. Bonillo. (Balter Tr. 42:5-23; 45:4-25). Defendant Balter’s ADA complaint is further

contradicted by a letter from Becco to Defendant Balter Sales dated April 27, 2012, which stated

that “Mr. Bonilla was on an extended, open-ended leave of absence during the entire month of

December 2011. He was not present to except [sic] any deliveries during that time & did not


7
       It is worth noting that Defendant Balter admitted that Plaintiff did in fact have concerns
regarding theft of merchandise and specifically asked him for locks for the back of the trucks to
ward off potential theft. (Balter Tr. 67:18-21; Rivera Tr. 92:8-7; Rosas Tr. 90:8-13; 276:2-8).

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receive any orders from Balter sales during his absence from Becco.” (Freedman Decl. Ex. J).

Clearly this calls Defendant Balter’s credibility into question as it would have been physically

implausible for Defendant Balter (or any other of Defendants’ employees) to have had a

conversation with Mr. Bonilla in which Mr. Bonilla explicitly identified Plaintiff as not having

delivered glasses. Finally, as perhaps the most resounding example of Defendants’ pretext, the

allegedly stolen $700.40 of merchandise was recovered. (Pardo Tr. 14:2-15-9; Freedman Decl.

Ex. I).

 V.       OTHER ISSUES THAT PRECLUDE SUMMARY JUDGMENT

             a. Arnold Balter is Liable for All State Law Claims

          Plaintiff seeks to hold Defendant Arnold Balter liable under his NYSHRL and NYCHRL

claims. Under NYSHRL §296(1), which prohibits certain acts of discrimination by an employer,

the New York Court of Appeals has held that individual liability may attach to any supervisor if

he/she is “shown to have any ownership interest or any power to do more than carry out

personnel decisions made by others.” See Patrowich v. Chemical Bank, 63 N.Y.2d 541, 542

(N.Y. 1984) (emphasis added). Thus, a corporate employee can be subject to individual liability

if he has an ownership interest in the corporate employer. See e.g., Gallegos v. Elite Model

Mgmt. Corp., 28 A.D. 3d 50 (N.Y. App. Div. 1st Dep’t 2005). NYCHRL §8-1079(13) also

provides for strict liability in the employment context for acts of managers and supervisors. See,

e.g., Kennington v. 226 Realty LLC, 2013 NY Slip Op 32708(U)(N.Y. Sup. Ct. Oct. 24, 2013).

Accordingly, as Arnold Balter clearly has not resigned his ownership interest in the company, he

is individually liable for Plaintiff’s NYSHRL and NYCHRL harassment and discrimination

claims. (Balter Tr. 8:16-18).

             b. Defendants Interfered with Plaintiff’s Protected Rights


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       NYCHRL §8-107(19) provides that “[i]t shall be an unlawful discriminatory practice for

any person to coerce, intimidate, threaten or interfere with, or attempt to coerce, intimidate,

threaten or interfere with, any person in the exercise or enjoyment of . . . any right granted or

protected pursuant to this section.” A claim of interference requires plaintiff to allege that

individuals on behalf of the entity took action to prevent the claimant from obtaining a protected

right. Montanez v. N.Y. City Hous. Auth., 5 A.D.3d 314 (N.Y. App. Div. 1st Dep’t 2004).

       As the foregoing sets forth, Defendants deprived Plaintiff of a work environment free of

both racial discrimination and sexual harassment. Further, after Plaintiff retained his current

counsel, Defendants subsequently retaliated and filed its criminal complaint against him, in a

clear attempt to intimidate and threaten Plaintiff from pursuing his claims further, and in an

attempt to interfere with Plaintiff’s right to bring this lawsuit. Accordingly, Plaintiff has

sufficiently pled his fifth cause of action for interference with protected rights.

           c. Assault and Battery

       Plaintiff sustained intentional and unwelcome physical contact of a sexual nature when

Defendant Rosenberg touched and attempted to touch Plaintiff inappropriately. Defendant Barry

Rosenberg’s assault and battery included touching Plaintiff’s buttocks, poking Plaintiff’s

buttocks, and trying to lick Plaintiff’s face, during the course of Plaintiff’s employment. (Pl. Aff.

¶10; Rosas Tr. 41:11-16; 42:3-8; 44:21-23; 58:19-25; Mungo Tr. 43:15-44:4; 47:15-17; 57:9-17).

Defendants incorrectly argue that Plaintiff’s cause of action for assault and battery was not filed

in a timely manner.      Plaintiff only testified at his deposition that he believed Defendant

Rosenberg did not make physical contact with him after December 2011. However, the last

instance where Defendant Rosenberg touched Plaintiff’s buttocks occurred in or around late

September, early October 2011. (Pl. Aff. ¶10). Accordingly, as Plaintiff filed his complaint on



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August 27, 2012, his assault and battery claim is timely. This was corroborated by Mark Mungo.

(Mungo Tr. 43:15-44:4; 57:9-25; 59:12-19). Moreover, because Defendants were aware of the

assault and battery, they are liable. See e.g., Cajamarca, 863 F. Supp. 2d at 246.

           d. Aiding and Abetting Claim

       An individual defendant may be held personally liable under the NYSHRL and the

NYCHRL if he participates in conduct giving rise to the discrimination claim. Schanfield v.

Sojitz Corp. of Am., 663 F. Supp. 2d 305, 344 (S.D.N.Y. 2009) (citation omitted).8 As set forth

herein, Plaintiff was clearly subjected to a sexually hostile work environment throughout the

course of his employment for which Defendant Balter Sales, as Plaintiff’s employer, is liable.

Plaintiff repeatedly complained to his supervisors, including Defendant Balter, about Defendant

Rosenberg’s behavior. Accordingly, Defendant Balter is liable because he condoned Defendant

Rosenberg’s sexually harassing behavior by allowing it to continue despite his knowledge of

such behavior. See e.g., Perks v. Town of Huntington, 251 F. Supp. 2d. 1143, 1160-61 (E.D.N.Y.

2003) (finding that managers or supervisors who actually participate in the conduct giving rise to

a discrimination claim may be individually liable for aiding and abetting discrimination by an

employer); Int'l Healthcare Exch., Inc. v. Global Healthcare Exch., LLC, 470 F. Supp. 2d 345,

360-361 (S.D.N.Y. 2007) (summary judgment denied where genuine issue of material fact

existed as to whether employer condoned and encouraged discriminatory behavior).

VI.    CONCLUSION

    For the foregoing reasons, Plaintiff respectfully requests this Court deny Defendants’ motion

for summary judgment in its entirety.

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        “The same standards of analysis used to evaluate aiding and abetting claims under the
NYSHRL apply to such claims under the NYCHRL because the language of the two laws is
virtually identical.” Feingold v. New York, 366 F.3d 138, 158 (2d Cir. N.Y. 2004)(citation and
internal marks omitted).
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Dated:          New York, NY
                April 28, 2014

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                                                Respectfully submitted,


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